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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                             )
 In re:                                                      ) Chapter 11
                                                             )
 ALEXANDER E. JONES,                                         ) Case No. 22-33553 (CML)
                                                             )
                          Debtor.                            )
                                                             )

      NOTICE OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
       BANKRUPTCY RULE 2004 EXAMINATION OF ERIKA WULFF JONES

          Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Local Rule 2004-1 of the United States Bankruptcy Court

for the Southern District of Texas (the “Local Rules”), Erika Wulff Jones is commanded to produce

documents and electronically stored information (“ESI”), and respond to the requests for

production (the “Requests”), identified in the attached Exhibit A to the undersigned counsel for

the Official Committee of Unsecured Creditors (the “Committee”) appointed in the above-

captioned chapter 11 case of debtor Alexander E. Jones (the “Debtor” and such case, the “Chapter

11 Case”) on or before May 19, 2023, at 5:00 p.m. CDT.

          Please take further notice that the Committee reserves its rights under title 11 of the United

States Code (the “Bankruptcy Code”), the Bankruptcy Rules, the Local Rules, and any applicable

law regarding the subject matter of this Notice, and to amend, supplement, and/or modify

Exhibit A attached hereto in accordance with the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, and other applicable law.




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 Dated: April 25, 2023                    Respectfully submitted,

                                          By: /s/ Marty L. Brimmage, Jr.
                                          Marty L. Brimmage, Jr.

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                                          -and-

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                                          Counsel to the Official Committee of Unsecured
                                          Creditors of Alexander E. Jones




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                              CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 2004-1, I hereby certify that counsel for the Committee conferred
with counsel for Erika Wulff Jones on the Committee’s Rule 2004 requests substantially in the
form reflected in Exhibit A on April 3 and April 12, 2023.

                                               /s/ Marty L. Brimmage, Jr.
                                               Marty L. Brimmage, Jr.


                                 CERTIFICATE OF SERVICE
        I certify that on April 25, 2023, a true and correct copy of the foregoing and the attached
exhibit were served on all parties registered to receive electronic notice of filings in this case via
this Court’s ECF notification system.

                                               /s/ Marty L. Brimmage, Jr.
                                               Marty L. Brimmage, Jr.




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                                          EXHIBIT A

                                        DEFINITIONS

       The following definitions apply to the Requests. Unless otherwise defined herein, all

words and phrases used herein shall be accorded their usual meaning and shall be interpreted in

their common, ordinary sense.

       1.      The term “2022 Appeal Trust” shall refer to any entity by the name of (or similar

to) the 2022 Appeal Trust.

       2.      The term “2022 FSS Litigation Settlement Trust” shall refer to any entity by the

name of (or similar to) the 2022 FSS Litigation Settlement Trust.

       3.      The term “A. Emric Productions, LLC” shall refer to the entity named A. Emric

Productions, LLC for which articles of organization were filed with the Texas Secretary of State

on or about May 10, 2007.

       4.      The term “AEJ Austin Holdings LLC” shall refer to the entity named AEJ Austin

Holdings LLC for which articles of organization were filed with the Texas Secretary of State on

or about September 24, 2018.

       5.      The term “AEJ Holdings, LLC” shall refer to any entity by the name of (or similar

to) AEJ Holdings, LLC.

       6.      The term “AEJ 2018 Trust” shall refer to any entity by the name of (or similar to)

the AEJ 2018 Trust.

       7.      The term “Account” shall mean any arrangement or agreement by which one or

more Persons accepts one or more Persons’ Assets to hold on behalf of that Person, including but

not limited to savings accounts, checking accounts, money market accounts, Certificate of Deposit

accounts, brokerage accounts, currency accounts, Cryptocurrency accounts, Commodities,

Commodities futures accounts, trust accounts, bailments, custodial agreements, safe deposit boxes,



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arrangements or agreements by which Assets are stored, and any other accounts held with a

financial institution. For the avoidance of doubt, this includes but is not limited to any Accounts

on any of the Schedules.

        8.      The term “Affiliate” or “Affiliates” shall have the meaning ascribed to the term

“Affiliate” under 11 U.S.C. § 101(2).

        9.      The term “Agent” shall mean any Person or entity and their Professionals acting

for or on behalf of another Person or entity.

        10.     The term “Alex Jones Live” shall refer to the business associated with the website

https://alexjones.live.

        11.     The term “Alexander E Jones Descendent and Beneficiary Trust” shall refer to

any entity by the name of (or similar to) the Alexander E. Jones Descendent and Beneficiary Trust.

        12.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all of these terms.

        13.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a Request all Documents, Communications,

or responses that might otherwise be construed to be outside of its scope.

        14.     The term “Ascendant Health Labs LLC” shall refer to any entity by the name of

(or similar to) Ascendant Health Labs LLC.

        15.     The term “Assets” shall mean both real assets and intangible assets, including Real

Property (whether owned or leased), fixtures, facilities, businesses, business lines, intellectual

property, goodwill, contracts, rights to recover under any insurance policy, causes of action,

inventory, cash, Cryptocurrency, cash equivalents, Commodities, Commodities futures, precious




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metals, jewelry, watches, furniture, wine, art, Firearms, Domain Names, oil and gas leases, mineral

rights, automobiles, watercraft, boats, helicopters, and any other thing of value.

        16.    The term “ATM” shall mean any automated teller machine or similar computer

system through which one can complete financial transactions.

        17.    The term “Austin Shiprock Publishing LLC” shall refer to the entity named Austin

Shiprock Publishing LLC for which articles of organization were filed with the Texas Secretary of

State on or about April 4, 2012.

        18.    The term “BellaMac LLC” shall refer to any entity by the name of (or similar to)

BellaMac LLC.

        19.    The term “Bio Pros” shall refer to any entity by the name of (or similar to) Bio

Pros.

        20.    The term “Blue Asension Logistics LLC” shall refer to the entity named Blue

Asension Logistics LLC for which articles of organization were filed with the Texas Secretary of

State on or about March 7, 2022.

        21.    The term “Certificate of Deposit” shall mean any savings product offered by a bank

or financial institution that earns interest on a fixed sum for a fixed period of time.

        22.    The term “CGS Partners LLC” shall refer to any entity by the name of (or similar

to) CGS Partners LLC.

        23.    The term “Charge Card” shall mean any card, plate, or other single credit device

that may be used from time to time to obtain credit which is not subject to a finance charge.

        24.    The term “Commodities” shall mean any tangible material that can be bought and

sold. For the avoidance of doubt, this includes gold, silver, diamonds, platinum, palladium, and




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other precious metals. For the further avoidance of further doubt, this includes options, futures,

and funds.

       25.     The term “Communication” shall mean the transmittal of information (in the form

of facts, ideas, inquiries, or otherwise). For the avoidance of doubt, this may encompass any oral,

written, or electronic transmission of information without limitation, including meetings,

discussions, conversations, telephone calls, email messages, text messages, Bloomberg messages,

chat messages, Instant Bloomberg chat messages, social media messages (e.g., Facebook, Twitter),

WhatsApp chat messages, Signal app messages, Telegram app messages, GroupMe chat messages,

or other messaging platforms, memoranda, letters, analyst reports, telecopies, telefaxes, telexes,

conferences, seminars, messages, notes, video tapes, photographs, microfilm, microfiche,

magnetic disks, or other media of any kind.

       26.     The term “concerning” shall mean relating to (however remotely), referring to,

describing, evidencing, or constituting.

       27.     The term “Corporate Records” shall include articles of association, company

bylaws, articles of incorporation, founding documents, partnership agreements, limited liability

company agreements, management agreements, meeting minutes, board presentations, policies

and resolutions, records of material transactions, approvals of material contracts, records of sale,

purchase of real estate, annual reports, trust agreements, accounting, and any other Document

concerning an entity’s organization or material activities.

       28.     The term “Credit Card” shall mean any card, plate, coupon book, or other credit

device existing for the purpose of obtaining money, property, labor, or services on credit.

       29.     The term “Credit Documents” shall include any Documents concerning any

application or request for an extension of credit of any kind including, but not limited to,




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mortgages, personal loans, lines of credit, and credit cards. For the avoidance of doubt, this

includes, but is not limited to, the following types of Documents: (a) W-2 forms; (b) pay stubs;

(c) income tax returns; (d) bank Account statements; (e) retirement and investment Account

statements; (f) Gift letters; (g) Documents verifying creditworthiness; (h) residential rental

Payment histories; (i) other Tax Documents; and (j) any other Document submitted in connection

with an application for an extension of credit.

       30.     The term “Credit Report” shall mean any Document prepared by a Credit Reporting

Agency or other financial Professional evidencing the record of a borrower’s credit history or used

to evaluate the creditworthiness of a Person.

       31.     The term “Credit Reporting Agency” shall mean any entity whose primary purpose

is to maintain historical creditor information, and shall include Dun & Bradstreet Corporation,

Equifax, Inc., Experian plc, and TransUnion.

       32.     The term “Cryptocurrency” shall mean any digital currency that utilizes

cryptography or similar technology to secure transactions that are digitally recorded on a

distributed ledger, such as a blockchain or similar technology.

       33.     The term “Cryptocurrency Wallet” shall mean any device, physical medium,

program, app, service, or software that stores private keys for Cryptocurrency or Cryptocurrency

transactions, whether encrypted or otherwise.

       34.     The term “Currency Transaction Report” shall mean any report required to be filed

pursuant to 31 CFR § 1010.311 or 31 CFR § 1021.311.

       35.     The term “David R. Jones, D.D.S., Inc.” shall refer to the entity named David R.

Jones, D.D.S., Inc. for which articles of organization were filed with the Texas Secretary of State

on or about April 16, 1979.




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       36.     The term “David R. Jones Family Limited Partnership” shall refer to the entity

named David R. Jones Family Limited Partnership for which articles of organization were filed

with the Texas Secretary of State on or about November 21, 2008.

       37.     The term “Debit Card” shall mean any card issued by a financial institution to a

consumer for use in initiating an electronic fund Transfer from the Account of the consumer at

such financial institution, for the purpose of Transferring money between Accounts or obtaining

money, property, labor, or services.

       38.     The terms “Debtor” or “Jones” shall mean the Person who filed a petition for

chapter 11 relief in the case of In re Alexander E. Jones, No. 22-33553 (CML) (Bankr. S.D. Tex.)

and who goes by the name of Alexander Jones, Alex Jones, Alexander E. Jones, Alex E. Jones,

Alexander Emeric Jones, Alex Emeric Jones, or any other variation of the Debtor’s name,

including any alter egos, Persons who have apparent authority over the Debtor, Agents of the

Debtor, and Professionals of the Debtor.

       39.     The term “Debtor Related Entity” shall include the following Persons, each as

defined herein:

               a.     A. Emric Productions, LLC;

               b.     AEJ Austin Holdings LLC;

               c.     AEJ Holdings LLC;

               d.     Alex Jones Live;

               e.     Austin Shiprock Publishing LLC;

               f.     David R. Jones, D.D.S., Inc.;

               g.     David R. Jones Family Limited Partnership;

               h.     Emric Productions LLC;




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               i.      Free Speech Systems, LLC;

               j.      Guadalupe County Land and Water L.L.C.;

               k.      InfoW, LLC;

               l.      IWHealth, LLC;

               m.      JLJR Holdings LLC;

               n.      Jones Production;

               o.      Jones Productions, LLC;

               p.      Jones Report, LLC;

               q.      LPTZ Holdings LLC;

               r.      Magnolia Holdings, Limited Partnership;

               s.      Magnolia Management, LLC;

               t.      Planet Infowars, L.L.C.;

               u.      PLJR Holdings LLC;

               v.      PQPR Holdings Limited LLC;

               w.      Prison Planet TV, LLC;

               x.      RCGJ, LLC; and

               y.      Any other entity directly or indirectly owned by the Debtor or for the

Debtor’s benefit, including any Debtor Related Trust.

       40.     The term “Debtor Related Trust” shall refer to any trust for which the Debtor or

any Debtor Related Entity is a beneficiary, settlor, donor, or trustee, including but not limited to

the Missouri 779384 Trust; the RXXCTTGAA Trust; the Alexander E. Jones Descendent and

Beneficiary Trust; the 2022 Appeal Trust; the 2022 FSS Litigation Settlement Trust; the AEJ 2018

Trust; the Green Leaf Trust; the Recharge Dynasty Trust; and the Hutton Cabin Trust; and shall




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include any of their Affiliates, predecessors and successors in interest, and any of their former or

current trustees, settlors, donors, beneficiaries, beneficial owners, Agents, advisors, attorneys,

Professionals, or anyone else acting on their behalf.

        41.    The term “DJN Health Lab LLC” shall refer to the entity named DJN Health Lab

LLC for which articles of organization were filed with the Texas Secretary of State on or about

December 26, 2018.

        42.    The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of the term “documents or electronically stored information” in Federal Rule of Civil

Procedure 34(a)(1)(A), including but not limited to all writings, drawings, graphs, charts,

photographs, sound recordings, images, electronically stored information, and other data or data

compilations. This includes documents stored in any medium from which information can be

obtained either directly or, if necessary, after translation by the responding party into a reasonably

usable form, including but not limited to emails, texts, chats, spreadsheets, and PowerPoint

presentations. A draft or non-identical copy is a separate document within the meaning of this

term.

        43.    The term “Domain Name” shall mean any sequence of alphanumeric characters

that forms all or part of the corresponding internet addresses.

        44.    The term “Dr. Jones Naturals” shall refer to any entity by the name of (or similar

to) Dr. Jones Naturals.

        45.    The term “Dr. Sonny’s LLC” shall refer to any entity by the name of (or similar to)

Dr. Sonny’s LLC.

        46.    The term “Emric Productions LLC” shall refer to any entity by the name of (or

similar to) Emric Productions LLC.




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       47.     The term “Family Member” shall mean any of Jones’s current or former spouses;

any children of Jones; Jones’s parents; and Jones’s first-degree, second-degree, third-degree, and

fourth-degree relatives.

       48.     The term “Financial Records” shall include any Document or Communication that

contains or summarizes information about any Person’s or entity’s financial activities or condition

of the Debtor including, but not limited to, information about the Assets, balance sheets, budgets,

cash flow, earnings, revenue, Gifts, Payments, Transfers in Assets or interests, Tax Documents,

Credit Documents, Mortgage Documents, and books and records containing any of the above

maintained in the ordinary course of business.

       49.     The term “FinCEN” shall refer to the bureau of the United States Department of

the Treasury named the Financial Crimes Enforcement Network.

       50.     The term “Firearm” shall mean (a) any weapon, including any gun, which will or

is designed to or may readily be converted to expel a projectile by the action of an explosive; (b)

the frame or receiver of any such weapon; (c) any firearm muffler or firearm silencer; or (d) any

similar destructive device or weapon.

       51.     The term “Free Creek Media Inc.” shall refer to the entity named Free Creek Media

Inc., which was formed in Texas on or about December 23, 2019.

       52.     The term “Free Speech Systems, LLC” shall refer to any entity by the name of (or

similar to) Free Speech Systems, LLC.

       53.     The term “FSS Case” shall mean the case captioned In re Free Speech Systems,

LLC, Case No. 22-60043 (CML) (Bankr. S.D. Tex.).

       54.     The term “Gift” shall mean any voluntary or involuntary Transfer of an Asset not

made in exchange for any service, product, or other Asset.




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       55.     The term “Green Leaf Trust” shall refer to any entity by the name of (or similar to)

Green Leaf Trust.

       56.     The term “Guadalupe County Land and Water L.L.C.” shall refer to the entity by

the name of Guadalupe County Land and Water L.L.C. for which articles of organization were

filed with the Texas Secretary of State on or about March 7, 2022.

       57.     The term “Hutton Cabin Trust” shall refer to any entity by the name of (or similar

to) Hutton Cabin Trust.

       58.     The term “including” shall mean “including, but not limited to.”

       59.     The term “Income” shall mean any compensation in exchange for goods or

services, including fees, commissions, fringe benefits, and other similar items.

       60.     The term “InfoW, LLC” shall refer to the entity named InfoW, LLC, formerly

known as Infowars LLC, for which articles of formation were filed with the Texas Secretary of

State on or about November 15, 2007.

       61.     The term “Insider” shall have the meaning ascribed in 11 U.S.C. § 101(31).

       62.     The term “IRS” shall refer to the Internal Revenue Service.

       63.     The term “IWHealth, LLC” shall refer to the entity named IWHealth, LLC,

formerly known as Infowars Health, LLC, for which articles of formation were filed with the Texas

Secretary of State on or about May 24, 2012.

       64.     The term “JEDKH LLC” shall refer to the entity named JEDKH LLC, which was

formed in Texas on or about December 12, 2019.

       65.     The term “JLJR Holdings, LLC,” shall refer to the entity named JLJR Holdings,

LLC for which articles of formation were filed with the Nevada Secretary of State on or about

October 2, 2013, which was registered to do business in Texas on or about October 9, 2013.




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       66.     The term “Jones Production” shall refer to any entity by the name of (or similar

to) Jones Production.

       67.     The term “Jones Productions, LLC” shall refer to the entity by the name of Jones

Productions, LLC for which articles of organization were filed with the Texas Secretary of State

on or about November 14, 2007.

       68.     The term “Jones Report, LLC” shall refer to the entity by the name of Jones Report,

LLC for which articles of organization were filed with the Texas Secretary of State on or about

November 15, 2007.

       69.     The term “LPTZ Holdings LLC” shall refer to the entity named LPTZ Holdings

LLC for which articles of organization were filed with the Texas Secretary of State on or about

April 12, 2022.

       70.     The term “Magnolia Holdings, Limited Partnership” shall refer to the entity

named Magnolia Holdings, Limited Partnership for which articles of organization were filed with

the Alaska Secretary of State on or about November 20, 2007.

       71.     The term “Magnolia Management, LLC” shall refer to the entity named Magnolia

Management, LLC for which articles of organization were filed with the Alaska Secretary of State

on or about November 16, 2007.

       72.     The term “Missouri 779384 Trust” shall refer to any entity by the name of (or

similar to) the Missouri 779384 Trust.

       73.     The term “Mortgage Documents” shall include any Documents concerning any

application or request for a line of credit secured by a mortgage on any residential or commercial

Real Property, including but not limited to: (a) W-2 forms; (b) pay stubs; (c) income tax returns;

(d) bank Account statements; (e) retirement and investment Account statements; (f) Gift letters;




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(g) Documents verifying creditworthiness; (h) copies of the purchase and sale agreement; (i) deeds

of trust; (j) residential rental Payment histories; (k) other Tax Documents; and (l) any other

Document submitted in connection with the above.

        74.     The term “Mountain Way” shall refer to the entity by the name of Mountain Way

Marketing LLC.

        75.     The term “MRJR Holdings Limited LLC” shall refer to the entity named MRJR

Holdings Limited, LLC for which articles of organization were filed with the Nevada Secretary of

State on or about June 12, 2019.

        76.     The term “Negotiable Instrument” shall include any unconditional promise or

order to pay a fixed amount of money, with or without interest or other charges described in the

promise or order, if it (a) is payable to bearer or to order at the time it is issued or first comes into

possession of a holder; (b) is payable on demand or at a definite time; and (c) does not state any

other undertaking or instruction by the person promising or ordering Payment to do any act in

addition to the Payment of money, and any similar instrument.

        77.     The term “Payment” shall mean any voluntary or involuntary Transfer in exchange

for any service, product, or other Asset, whether previously provided, provided

contemporaneously with the Transfer, or to be provided in the future, and whether or not such

service, product, or other Asset was or will be provided to the Person making or causing the

Payment to be made.

        78.     The term “Person” shall mean any natural person or any legal entity,

unincorporated association, or group of individuals or legal entities, whether formally or

informally established, and their Affiliates and Professionals, including, without limitation, any

business, trust, governmental entity, or association.




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       79.       The term “Planet Infowars, L.L.C.” shall refer to the entity named Planet Infowars,

L.L.C. for which articles of organization were filed with the Texas Secretary of State on or about

April 4, 2012.

       80.       The term “PLJR Holdings, LLC” shall refer to the entity named PLJR Holdings,

LLC for which articles of organization were filed with the Nevada Secretary of State on or about

October 2, 2012.

       81.       The term “PQPR Holdings Limited LLC” shall refer to the entity named PQPR

Holdings Limited LLC for which articles of incorporation were filed on or about October 2, 2013,

which was registered to do business in Texas on or about October 9, 2013.

       82.       The term “Practitioners Products LLC” shall refer to any entity by the name of (or

similar to) Practitioners Products LLC.

       83.       The term “Prepetition Litigation” shall mean any litigation commenced against the

Debtor or any Debtor Related Entity before December 2, 2022.

       84.       The term “Prison Planet TV, LLC” shall refer to the entity named Prison Planet

TV, LLC for which articles of organization were filed with the Texas Secretary of State on or

about November 15, 2007.

       85.       The term “Professional” shall mean any Person or entity engaged to provide or

involved in providing professional services of any kind at any time, including without limitation,

any attorneys, consultants (including independent consultants), independent contractors, advisors,

and testifying or non-testifying experts.

       86.       The term “Promissory Note” shall include any written Document that is or

evidences a promise by one or more Persons to pay a debt to one or more Persons whether

nontransferable or otherwise, and any similar Document.




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       87.     The term “RCGJ, LLC” shall refer to the entity named RCGJ, LLC for which

articles of organization were filed with the Texas Secretary of State on or about March 17, 2016.

       88.     The term “Real Property” shall have the meaning ascribed to the term in

section 1.04(2) of the Texas Property Tax Code.

       89.     The term “Recharge Dynasty Trust” shall refer to any entity by the name of (or

similar to) Recharge Dynasty Trust.

       90.     The term “Rex Jones Enterprises LLC” shall refer to any entity by the name of (or

similar to) Rex Jones Enterprises LLC.

       91.     The term “RXXCTTGAA Trust” shall refer to any entity by the name of (or similar

to) the RXXCTTGAA Trust.

       92.     The term “QuickBooks” shall mean any accounting software developed by Intuit

Inc.

       93.     The term “Schedules” shall refer to the Schedules filed by the Debtor in this chapter

11 case [ECF No. 161], and any amendments thereto, and the Schedules filed by Free Speech

Systems, LLC in the FSS Case [FSS Case ECF No. 121], and any amendments thereto.

       94.     The term “Supplements” shall mean any dietary, health, or wellness products,

including, but not limited to, those currently or previously listed for sale by any entity in which

the Debtor or any Debtor Related Entity holds a beneficial, legal, equitable, or pecuniary interest.

       95.     The term “Take Free Media Inc.” shall refer to any entity by the name of (or similar

to) Take Free Media Inc.

       96.     The term “Take it Media Inc.” shall refer to the entity named Take it Media Inc.,

which was formed in Texas on or about February 2, 2022.




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        97.       The term “Tax Documents” shall mean any tax return, tax form, tax schedule,

declaration, report, claim for refund, assessment, or information return, statement, or other

Document relating to taxes, including any schedules or form or attachment thereto, whether

prepared by the taxpayer, in the taxpayer’s individual capacity or the taxpayer’s capacity as an

employer or employee, a tax preparer, a bank or financial institution, the IRS, or any other

governmental authority.

        98.       The term “Transfer” shall have the meaning ascribed in 11 U.S.C. § 101(54)(A)–

(D), inclusive.

        99.       The term “Vallum Holdings LLC” shall refer to the entity named Vallum Holdings

LLC, which was formed in Nevada on or about November 21, 2019.

        100.      The term “Verboten LLC” shall refer to any entity by the name of (or similar to)

Verboten LLC.

        101.      The terms “You,” “Your,” or “Yours” shall refer to Erika Wulff Jones as an

individual; in her capacity as trustee, co-trustee, beneficiary, donor, or settlor of any Debtor Related

Trust; in her capacity as manager, member, owner, employee, or consultant of any Debtor Related

Entity; and in her capacity in any role in connection with the Debtor, any Debtor Related Trust, or

any Debtor Related Entity. This includes You: (a) as an individual; (b) as trustee or co-trustee of

the Missouri 779384 Trust; and (c) in any other capacity in which You have possession, custody,

or control of Documents, Communications, or information called for or responsive to these

Requests.

        102.      The definitions described above shall apply regardless of whether such term is

capitalized or not capitalized.




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       103.      Any references to a Person shall be deemed to include such Person’s Agents,

accountants, advisors, employees, attorneys and other Professionals, officers, directors, direct or

indirect shareholders, members, managers, representatives, Affiliates, subsidiaries, predecessors,

successors, assigns, trustees, fiduciaries, settlors, donors, beneficiaries, donors, or any other

individual or entity acting or purporting to act on behalf of such Person. In addition, the reference

to any trust shall include any current or former trustees, or other fiduciaries, settlors, donors, and

beneficiaries.

       104.      The use of any singular noun shall be construed to include the plural, and vice

versa, and a verb in any tense shall be construed as the use of the verb in all other tenses.




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                                        INSTRUCTIONS

       1.      These instructions incorporate by reference the requirements and duties of the

Federal Bankruptcy Rules and the Local Rules.

       2.      Each Request is continuing in nature.       If at any time additional Documents

responsive to the Requests come into Your possession, custody, or control or are brought to Your

attention, prompt supplementation of Your response to these Requests is required.

       3.      You are requested to produce all Documents, Communications, and information

requested herein that are within Your possession, custody, or control or in the possession, custody,

or control of Your current and former officers, directors, Agents, employees, representatives,

Affiliates, Professionals, members, managers, trustees, or any other Person or entity acting or

purporting to act on Your behalf.

       4.      You are requested to produce Documents, Communications, and information

requested herein on a rolling basis.

       5.      If You cannot fully respond to one or more of the Requests after exercising due

diligence to secure the information requested thereby, please so state, and specify: (a) the portion

of each Request that cannot be responded to fully and completely; (b) what efforts were made to

obtain the requested information; (c) the facts relied upon that support Your contention that the

Request(s) cannot be answered fully and completely; and (d) any knowledge, information, or belief

You have concerning the unanswered portion of any such Request(s).

       6.      All Documents shall be produced with metadata in TIFF format with OCR images,

provided, however, that documents in Excel format shall be provided in native format. All

Documents shall be produced with metadata, including but not limited to the date and time




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created/sent, author, recipients, cc-copies, bcc-blind copies, family member information, MD-5

hash, subject line and title, and whether the document contains redactions.

       7.      If the response to any Request consists, in whole or in part, of an objection on the

basis of or including undue burdensomeness, then provide those documents that can be produced

without undue burden. For such documents that are too unduly burdensome to produce, describe

the process or method required to obtain said documents, the quantity and location of the

documents involved, and the estimated costs of the search.

       8.      If You intend to withhold any responsive Document, Communication, or other

information on the basis of a claim of attorney-client privilege, work product protection, or any

other ground of non-disclosure, You shall identify such Document, Communication, or

information in writing by date of the Document’s creation, title/file name/“re line”/subject,

addressee/to/cc/bcc, addressor/from, Document type, and topic covered and listed with a statement

of the grounds alleged for withholding such Document, Communication, or other information,

including any privilege claimed.

       9.      If Your response to any Request is any other objection, You must indicate if

Documents are being withheld based on the objection(s), provide all Documents not covered by

the objection, and state the specific basis of the objection.

       10.     If any Document responsive to these Requests has been destroyed, lost, or

discarded, state when the Document was destroyed, lost, or discarded; identify the Person who

destroyed, lost, or discarded the Document; and, in the event the Document was destroyed or

discarded, identify the Person who directed that it be destroyed or discarded. Additionally, detail

the reasons for the destruction, loss, or discarding; describe the nature of the Document; identify




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the Persons who created, sent, received, or reviewed the Document; and state in as much detail as

possible the contents of the Document.

       11.     Subject to Instruction No. 6 above, Documents should be produced in the manner

they are kept in the ordinary course of business. In producing Documents, all Documents that are

physically attached to each other, or segregated or separated from other Documents, when

originally located, should be produced as is.

       12.     All Documents shall be produced in such fashion as to identify the custodian or

department in whose possession the Document was found and the business address of each

Document’s custodian(s).

       13.     The fact that a Document is produced by another party does not relieve You of the

obligation to produce Your copy of the same Document, even if the two Documents are identical.

       14.     Unless otherwise specified, the Requests call for the production of Documents and

Communications created, drafted, copied, or otherwise obtained from January 1, 2017, to the

present.

       15.     By serving these Requests, the Committee reserves all rights, does not waive any

of its rights, and expressly reserves the right to amend, to modify, or otherwise to supplement these

Requests.




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                               REQUESTS FOR PRODUCTION

          1.    All Documents and Communications concerning any Assets or liabilities of the

Debtor, Debtor Related Entities, or Debtor Related Trusts, including any appraisals.

          2.    All Documents and Communications concerning any Accounts or Assets of, or on

behalf of, You, the Debtor, any Debtor Related Entities, or any Debtor Related Trusts that are

located in the Cayman Islands or any other non-U.S. location, or any trusts or entities in the

Cayman Islands that are associated with the Debtor in any way.

          3.    All Documents and Communications concerning any purchase, sale, acquisition,

disposition, Transfer or Payment of any Assets for or on behalf of the Debtor or any Debtor Related

Entity.

          4.    All Documents and Communications between You and the Debtor or any other

Person concerning any Asset planning or estate planning with respect to, or in consideration of any

creditor’s ability to reach, any Assets in which the Debtor has a legal, possessory, beneficial,

equitable, pecuniary, or disputed interest. The scope of this Request is from January 1, 2013, to

present.

          5.    All Documents and Communications concerning the Debtor’s filing of his chapter

11 petition, including all Documents and Communications concerning the planning of the filing of

his chapter 11 petition.

          6.    All Documents and Communications concerning any Gift made directly or

indirectly by the Debtor, or any Gift made directly or indirectly to the Debtor, including Documents

concerning the recipient of each Gift, the giver of each Gift, and the value of each Gift.

          7.    All Documents and Communications concerning any Payment made by the Debtor,

any Debtor Related Entity, or any Debtor Related Trust, including Documents sufficient to identify




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the payor, the amount and recipient of each Payment and the specific goods, services, or Assets

provided in exchange.

       8.      All Documents and Communications concerning debts and other obligations owed

by or to the Debtor, and any Payments of principal or interest made on such debts.

       9.      All Documents and Communications concerning the Debtor’s affiliation or

employment with Free Speech Systems, LLC including Documents and Communications

concerning the preparation and negotiation of the Debtor’s employment contracts.

       10.     All Documents and Communications concerning any offers of employment,

endorsement, or financial backing or support from any Person to the Debtor.

       11.     Documents sufficient to identify any Person(s) who handle any of the Debtor’s

personal finances, including accountants, tax advisors, other finance Professionals, personal

assistants, secretaries, household assistants, nannies, or other Professionals.

       12.     Any premarital or postmarital agreement to which You are a party, and all

Documents and Communications concerning any such premarital or postmarital agreements.

       13.     Documents sufficient to identify any entity in which the Debtor has or has had a

legal, equitable, beneficial, contingent, or pecuniary interest, and to identify any Person(s) who

created or formed, or helped to create or form any such entities, and to identify the purpose of such

entities. The scope of this Request is not limited in time.

       14.     All Documents and Communications concerning any entities that You created or

formed, or helped create or form, for or on behalf of the Debtor, for the benefit of the Debtor, or

at the direction of the Debtor, directly or indirectly, and to identify the purpose of such entities.

The scope of this Request is not limited in time.




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        15.      All Documents and Communications concerning any entities or trusts formed for

on behalf of any Family Member of the Debtor.

        16.      All Documents and Communications concerning the creation or formation of any

Debtor Related Entities or any Debtor Related Trusts. The scope of this Request is not limited in

time.

        17.      All Documents and Communications concerning Assets, Transfers, liabilities,

Income, expenses, revenue, profits, financial condition, or any commercial agreement (formal or

informal), or any other financial matter related to the Debtor or to any Debtor Related Entity or

any Debtor Related Trust.

        18.      All Documents and Communications produced by You, the Debtor or any Debtor

Related Entity to any other party in any Prepetition Litigation.

        19.      All Documents and Communications that You or any Debtor Related Entity has

produced or will produce to any party in the above-captioned bankruptcy case, or the FSS Case,

including the subchapter V trustee, of the FSS Case.

        20.      All Documents and Communications concerning any obligations, notes or security

agreements with PQPR Holdings Limited LLC.

        21.      All Documents and Communications with or concerning any entities controlled by

the Debtor’s Family Members, or current or former employees of the Debtor or Free Speech

Systems, LLC including, but not limited to, the following entities:

              a. Ascendant Health Labs LLC;

              b. BellaMac LLC;

              c. Bio Pros;

              d. Blue Asension Logistics LLC;




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             e. CGS Partners LLC;

             f. DJN Health Lab LLC;

             g. Dr. Jones Naturals;

             h. Dr. Sonny’s LLC;

             i. Free Creek Media Inc.;

             j. JEDKH LLC;

             k. Mountain Way;

             l. MRJR Holdings Limited LLC;

             m. Practitioners Products LLC;

             n. Rex Jones Enterprises LLC;

             o. Take Free Media Inc.;

             p. Take it Media Inc.;

             q. Vallum Holdings LLC; and

             r. Verboten LLC.

       22.      Documents sufficient to identify any Transfer of any Asset of the Debtor, Debtor

Related Entity, or Debtor Related Trust to any of the entities listed in the prior Request, and any

contracts or obligations with any of the entities listed in the prior Request.

       23.      Documents sufficient to identify any Transfer of any Asset of the Debtor, Debtor

Related Entity, or Debtor Related Trust to any Family Member of the Debtor, or to any entity or

trust for the benefit of any Family Member of the Debtor.

       24.      Documents sufficient to identify any entity that has received revenue derived

directly or indirectly from (i) Jones, (ii) Free Speech Systems, LLC (iii) Infowars.com, (iv) Alex




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Jones Live, (v) any entity created by or on behalf of any Family Member of Jones, (vi) any

employee of Jones or Free Speech Systems, LLC or (vii) any Affiliate of any of the foregoing.

       25.     Documents sufficient to identify any revenue received by Jones or any entity that

he owns or controls, directly or indirectly, from (i) Free Speech Systems, LLC, (ii) Infowars.com,

(iii) Alex Jones Live, (iv) any entity created by or on behalf of any Family Member of Jones, (v)

any employee of Jones or Free Speech Systems, LLC, or (vi) any Affiliate of any of the foregoing.

       26.     Documents sufficient to identify any money or thing of value that is owed to Jones

or receivable derived directly or indirectly from (i) Free Speech Systems, LLC, (ii) Infowars.com,

(iii) Alex Jones Live, (iv) any entity created by or on behalf of any Family Member of Jones, (v)

any employee of Jones or Free Speech Systems, LLC or (vi) any Affiliate of any of the foregoing.

       27.     Documents sufficient to identify any revenue received by any Family Member of

Jones or entity for the benefit of any Family Member of Jones, directly or indirectly, from (i) Free

Speech Systems, LLC, (ii) Infowars.com, (iii) Alex Jones Live, (iv) any entity created by or on

behalf of any employee of Jones or Free Speech Systems, LLC, or (v) any Affiliate of any of the

foregoing.

       28.     All articles of incorporation, LLC agreements, LLP agreements, founding

Documents, organization Documents, or organization charts, or other Corporate Records and

Financial Records of any Debtor Related Entity or Debtor Related Trust.

       29.     All board materials, meeting minutes, Financial Records, and Corporate Records

for all Debtor Related Entities or Debtor Related Trusts.

       30.     All audited and unaudited balance sheets, income statements, consolidating

schedules, cash flow statements, profit and loss statements, statements of changes in equity,




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statements of retained earnings, and other financial statements or accounting reports, along with

drafts, trial balances, and internal accounting work papers for any Debtor Related Entity.

          31.   Documents sufficient to show each Asset (whether owned directly or indirectly) of

the Debtor, any Debtor Related Entity, or any Debtor Related Trust that is worth, individually or

in the aggregate-in-kind, over $250; the location of each Asset; the custodian of each Asset or

otherwise having possession or control of the Asset; and the value of each Asset.

          32.   All agreements and contracts with or concerning the Debtor.

          33.   All consignment agreements entered into by the Debtor or by any Debtor Related

Entity.

          34.   All Documents and Communications concerning any Payments, transactions,

dealings, Gifts, loans, investments, negotiations, donations, Transfers, or similar activity with or

concerning the Debtor or a Debtor Related Entity or Debtor Related Trust.

          35.   All Documents and Communications concerning the fees of any Professional of the

Debtor, Debtor Related Entities, or Debtor Related Trusts, or of the fees of any Professional

benefiting the Debtor, Debtor Related Entities, or Debtor Related Trusts.

          36.   All Documents and Communications concerning any Account held in the name of

the Debtor or any Debtor Related Entity or Debtor Related Trust, or for which the Debtor or any

Debtor Related Entity or Debtor Related Trust is a signatory, individually or jointly with any other

Person(s) (including You or any Person with which You are Affiliated), including but not limited

to any Debit Card, Credit Card, Charge Card, ATM activity, or mobile-deposit information

associated with any Account.




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       37.      For any Account held in the name of the Debtor or any Debtor Related Entity or

Debtor Related Trust, or for which the Debtor or any Debtor Related Entity or Debtor Related

Trust is a signatory, individually or jointly with any other Person(s):

       a. All monthly and yearly Account statements;

       b. All Account-opening or Account-closing documentation;

       c. All Documents and Communications concerning any Transfers;

       d. Addition, subtraction, or modification to Persons named on or having access to any

             Accounts;

       e. The current balance of any Accounts; and

       f. Changes of address to any Accounts.

       38.      All Documents and Communications concerning any safe deposit boxes containing

any of the Debtor’s Assets, or safe deposit boxes to which the Debtor has access or which contain

Assets in which the Debtor holds an interest.

       39.      All Documents and Communications, including all Corporate Records, Financial

Records, and Tax Documents, in Your possession, custody, or control, concerning the Debtor, any

Debtor Related Entity, or any Debtor Related Trust.

       40.      All Documents and Communications concerning the appointment or removal of

any manager, member, director, or officer of any Debtor Related Entity.

       41.      All Documents and Communications concerning any Certificates of Deposit in

the name of the Debtor, any Debtor Related Entity or any Debtor Related Trust, belonging to the

Debtor, any Debtor Related Entity or any Debtor Related Trust, under the control of the Debtor,

any Debtor Related Entity or any Debtor Related Trust, or in which the Debtor or a Debtor

Related Entity or Debtor Related Trust has a legal, equitable, possessory, contingent, or




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pecuniary interest, including Documents and Communications sufficient to identify the value of

any such Certificate of Deposit.

       42.     All general ledgers and accounting statements related to the Debtor or any Debtor

Related Entity or any Debtor Related Trust, including all records, reports, or other Documents

produced utilizing QuickBooks or similar accounting software used by or for the Debtor or any

Debtor Related Entity.

       43.     All Documents and Communications concerning any Credit Reports of the Debtor

or any Debtor Related Entity from any Credit Reporting Agency.

       44.     All Documents and Communications concerning any Negotiable Instrument or

Promissory Note written, signed, or presented by or against the Debtor or any Debtor Related

Entity or Debtor Related Trust whether cancelled or voided, and regardless of any personal or real

defense that could be asserted against such instrument and regardless of whether the holder of such

instrument is a holder in due course.

       45.     All Documents and Communications concerning any Currency Transaction Reports

filed by any bank or financial institution concerning the Debtor or any Debtor Related Entity,

including copies of any such Currency Transaction Reports in Your possession, custody, or control.

       46.     Copies of any FinCEN Form 105 filed by or on behalf of the Debtor concerning the

Debtor’s or any Debtor Related Entity’s reporting of international transportation of currency or

monetary instruments across United States borders.

       47.     All Documents and Communications concerning any Tax Documents concerning

the Debtor or any Debtor Related Entity or any Debtor Related Trust, whether in their personal or

professional capacity, including copies of any Tax Documents executed by or on behalf of the

Debtor or any Debtor Related Entity or prepared for the Debtor or any Debtor Related Entity.




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       48.     All Documents and Communications concerning any Cryptocurrency Wallets

belonging to, controlled by, or benefitting the Debtor or any Debtor Related Entity or Debtor

Related Trust at any point in time and the value of the Assets held therein, including Documents

and Communications concerning any Accounts held or controlled by the Debtor or any Debtor

Related Entity or Debtor Related Trust with any Cryptocurrency brokerage firms or

clearinghouses, including the value of the Assets therein on an Asset by Asset basis. The scope of

this Request is not limited in time.

       49.     Any wage statements or bonus payments or similar Documents or Communications

received by or provided to the Debtor or any Persons employed by or performing work for the

Debtor, any Debtor Related Entity, or any Professionals of the Debtor or any Debtor Related Entity.

       50.     Any retirement or deferred benefits statements, summaries, or similar Documents

reflecting the payment of future Income received by or provided to any Persons employed by or

performing work for the Debtor or any Debtor Related Entity.

       51.     All Gifts, Payments or Transfers by the Debtor or any Debtor Related Entity or

Debtor Related Trust to You and any invoices related to the same.

       52.     All Documents and Communications concerning any Real Property of the Debtor

or any Debtor Related Entity or Debtor Related Trust, including copies of any deeds to Real

Property listed in the Debtor’s or any Debtor Related Entity’s name at any point in time and any

Mortgage Documents of the Debtor or any Debtor Related Entity. The scope of this Request is

from January 1, 2013, to the present.

       53.     Documents sufficient to identify all Domain Names owned by the Debtor, any

Debtor Related Entity, or any Debtor Related Trust.




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       54.       Documents sufficient to identify all Persons with whom the Debtor or any Debtor

Related Entity contracted or did business (formally or informally) concerning the promotion or

sale of Supplements or any other product or services advertised by the Debtor or in connection

with any Debtor Related Entity.

       55.       Documents sufficient to identify all debts or other obligations owed by or to the

Debtor or any Debtor Related Entity or any Debtor Related Trust.

       56.       Documents sufficient to identify all contracts or agreements (formal or informal)

between any Debtor Related Entity and the Debtor or any Family Member of the Debtor and all

Documents and Communications concerning the negotiations of any such contracts or agreements.

       57.       All Documents and Communications concerning any annuities or insurance

policies purchased by the Debtor or any Debtor Related Entity or under which the Debtor or any

Debtor Related Entity is a beneficiary.

       58.       All Documents and Communications concerning Your, the Debtor’s, or any Debtor

Related Entity’s retention or destruction of Documents.

       59.       All litigation hold notices prepared, provided, or sent to or by You, the Debtor, or

any Debtor Related Entity.

       60.       All Documents and Communications concerning any Real Property or other Assets

conveyed, Transferred, leased by the Debtor or any Debtor Related Entity or Debtor Related Trust.

       61.       All Documents and Communications provided by the Debtor, any Debtor Related

Entity, or any Debtor Related Trust to any accounting-related Professional.

       62.       All Tax Documents related to the Debtor, any Debtor Related Entity, or any Debtor

Related Trust.




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       63.     All Tax Documents submitted to, sent to, demanded by, or produced to the IRS, or

any other local, state, or national taxation authority worldwide, by the Debtor, any Debtor Related

Entity or any entity in which You or the Debtor are or were an owner, by You, by the Debtor, on

Your behalf, on the Debtor’s behalf, or for Your benefit, or for the Debtor’s benefit. The scope of

this Request is from January 1, 2013, to the present.

       64.     Documents sufficient to identify all Debtor Related Trusts, including trust

agreements, declarations of trust, and other governing instruments, with all amendments and

modifications thereto.

       65.     All contracts, agreements, restatements, articles of incorporation, formation

Documents, governing Documents, letters of wishes, or similar Documents, and any amendments

thereto of any Debtor Related Trust.

       66.     All books and records of any Debtor Related Trust, including all board minutes and

other board materials for all corporate trustees.

       67.     All Account statements for any Account held in the name of any Debtor Related

Trust, or for which any Debtor Related Trust is a signatory, individually or jointly with any other

Person(s).

       68.     All Documents and Communications concerning Your or the Debtor’s role or

affiliation with any Debtor Related Trust including as a settlor, trustee, beneficiary, or donor.

       69.     Documents sufficient to identify all present and former: (a) trustees of any Debtor

Related Trust; (b) beneficiaries of any Debtor Related Trust; (c) donors of any Debtor Related

Trust; (d) settlors of any Debtor Related Trust; and (e) in the case of trustees of any Debtor Related

Trust that are private trust companies, the officers, directors, managers and owners of such private




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trust companies; and (f) the dates of each appointment and termination of tenure for each of the

foregoing.

       70.     All Documents and Communications sent or received in Your role as settlor, trustee,

beneficiary, or donor of any Debtor Related Trust.

       71.     All Documents and Communications concerning any Income paid to any trustee of

any Debtor Related Trust, including to You or to the Debtor or to any other Person.

       72.     Documents sufficient to identify all Assets of all Debtor Related Trusts, and all

Documents and Communications concerning any Asset identified.

       73.     All Documents and Communications concerning any Transfers from, payments

made by, or any distributions or interest from, or loans entered into by the Missouri 779384 Trust

or any Debtor Related Trust.

       74.     All probate court or other court filings and Documents by or concerning any Debtor

Related Trust, including any sealed Documents.

       75.     All Documents sufficient to show current or prior Assets, liabilities, receivables,

and payables of any Debtor Related Trust, including any and all accountings, judicial or non-

judicial, formal or informal, by the trustees or any investment advisor (whether or not a fiduciary)

of such Debtor Related Trust.

       76.     All Asset valuations or net worth and cash reports concerning any Debtor Related

Trust, including any that have been furnished to any loan or mortgage lender.

       77.     All Documents sufficient to identify any requests for distributions from any Debtor

Related Trust, whether or not satisfied, including an explanation of the basis or reasons for the

decision to make or refuse such distributions.




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       78.     All Documents and Communications concerning the Debtor’s involvement in

developing, launching, or investing in any other business or joint venture, or the use of any Assets

or infrastructure of the Debtor or any Debtor Related Entity in connection with developing,

launching, or investing in any other business or joint venture.

       79.     Documents concerning any Transfer to or investment of any Asset in Carpe

Donktum, National File, https://nationalfile.com/, Alex Jones Live, alexjones.live, or Logan Cook.




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